         Case 1:17-cr-10092-NMG Document 224 Filed 05/12/18 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA


v.                                                           Cr. No. 17-10092-NMG


GARY P. DECICCO

      DEFENDANT’S SUPPLEMENTAL MOTION IN LIMINE TO EXCLUDE
 EVIDENCE OF CRIMES, WRONGS, OR OTHER ACTS UNDER RULES 404(b) AND 403
                     [Leave To File Granted On 5/10/2018]

       Defendant Gary DeCicco respectfully moves in limine for an order pursuant to Fed. R.

Evid. 404(b) and 403 to exclude evidence of (1) an alleged incident of violence by the defendant

toward Erwin Rose and (2) an allegation by Erwin Rose that the defendant “used the term “nigger”

a lot and talked about violence he performed against an African-American ” on the grounds that

these allegations would be admitted in this case solely for the improper purpose of showing bad

character and/or the propensity of Mr. DiCicco to commit the crime charged in the indictment in this

case. In support hereof the defendant states as follows:

       On May 7, 2018, defendant’s counsel filed a Motion In Limine to Exclude Evidence of

Crimes, Wrongs, Or Other Acts Under Rules 404(b) and 403. Dkt. 199. Counsel also filed a

Memorandum in Support of the motion. Dkt. 200. The defendant now supplements his previously

filed motion in limine and incorporates herein the legal arguments set out in his memorandum in

support of that motion.
         Case 1:17-cr-10092-NMG Document 224 Filed 05/12/18 Page 2 of 4



        On May 11, 2018, the government disclosed a copy of an FBI report (FD-302) drafted on

May 3, 2017 and entered on May 16, 2017 summarizing an interview of Erwin “Skip” Rose. (Bates

No. USAO_DECICCO_00024927). Mr. Rose related that he was involved in the construction of

the Atlantis Marina project in Winthrop, Massachusetts. He told the interviewing agent that on one

occasion during a construction meeting, on an unspecified date, Mr. DeCicco raised his voice toward

him and grabbed him by the throat. Rose, according to the report, also told the interviewing agent

that Mr. DeCicco “used the term nigger a lot” and that he spoke of some unspecified violence he

performed against an unnamed African-American on an unknown time.

        The two events described by Rose in the FBI report should be excluded for the following

reasons: (1) The alleged confrontation with Erwin Rose at an unspecified time does not have special

relevance to the crime of attempted extortion. Whether or not Mr. DeCicco had a physical

confrontation with Erwin Rose as described in the report is not probative of any motive, opportunity,

intent, preparation, plan, knowledge, identity, absence of mistake, or lack of accident in this case.

It is completely unconnected to any disputed fact or circumstance relating to the attempted extortion

charge. (2) The allegation by Mr. Rose that Mr. DeCicco “used the term “nigger” a lot” and talked

about violence he performed against an unnamed African-American, at an unspecified time, for an

unknown reason is likewise irrelevant to the facts at issue in this case and not probative motive,

opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack of accident

in this case. These latter allegations are vague, remote, and not tied to any fact or issue in this case.
         Case 1:17-cr-10092-NMG Document 224 Filed 05/12/18 Page 3 of 4



        These allegations, if admitted, would serve the improper purpose of showing bad character

and/or the propensity of Mr. DiCicco to commit the crime charged in the indictment in this case.

Moreover, the probative value of the identified uncharged bad act evidence is substantially

outweighed by the risk of unfair prejudice and ultimately would interfere with Mr. DeCicco’s right

to a fair trial, all in violation of his due process rights.

        WHEREFORE: The defendant requests the Court to order the exclusion of the impermissible

bad acts allegations and uncharged conduct as set forth above.

                                                         Respectfully submitted,
                                                         GARY P. DECICCO
                                                         By his attorneys,

                                                         /s/ James J. Cipoletta
                                                         ___________________________
                                                         James J. Cipoletta (BBO# 084260)
                                                         Law Offices of James J. Cipoletta
                                                         Citizens Bank Building
                                                         385 Broadway - Suite 307
                                                         Revere, Massachusetts 02151
                                                         jim@cipoletta.com
                                                         Tel: (781) 289-7777

                                                         Thomas C. Frongillo (BBO# 180690)
                                                         Caroline K. Simons (BBO# 680827)
                                                         FISH & RICHARDSON P.C.
                                                         One Marina Park Drive
                                                         Boston, Massachusetts 02210
                                                         frongillo@fr.com
                                                         simons@fr.com
                                                         Tel: (617) 542-5070
                                                         Fax: (617) 542-8906
Dated: May 12, 2018
         Case 1:17-cr-10092-NMG Document 224 Filed 05/12/18 Page 4 of 4



                                       Certificate of Service

I hereby certify that this document filed through the ECF system will be sent electronically to the

registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will

be sent to those indicated as non-registered participants on the above date.


                                                     /s/ James J. Cipoletta
                                                     __________________________
